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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION


 SECURITIES AND EXCHANGE
 COMMISSION,

                        Plaintiff,

                v.
                                                                   No.: 4:23-CV-0147-P
 CHRISTOPHER S. KIRCHNER,

                        Defendant,

                -and-

 KFIM LLC,

                         Relief Defendant.


                 PLAINTIFF’S NOTICE OF PROCEDURE CONCERNING
                   FACE-TO-FACE CONFERENCE REQUIREMENT

       On February 16, 2023, the Court issued an Order governing, inter alia, the parties’ initial

scheduling conference in this matter (the “Order”). (Dkt. No. 11.) The Order requires the parties

to confer in a face-to-face, in-person conference as soon as practicable (the “Face-to-Face

Requirement”). Counsel for Plaintiff Securities and Exchange Commission (“SEC”) are located

in New York, New York, and lead counsel is unable to travel by plane due to late-stage

pregnancy. Local counsel for the SEC, who has entered a notice of appearance in this case

(Dkt. No. 12), is located in Fort Worth, Texas, and is familiar with the underlying facts of the

case. In light of the foregoing, the SEC hereby notifies the Court that it intends to satisfy the

Order’s Face-to-Face Requirement as follows: local counsel for the SEC will appear in person at

the scheduling conference and counsel for the SEC located in New York will appear via

videoconference.
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Dated:   March 1, 2023

                                   Respectfully submitted,

                                   /s/ Jessica T. Quinn
                                   Jessica T. Quinn (pro hac vice)
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                                   Securities and Exchange Commission
                                   New York Regional Office
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                                   Counsel for Plaintiff Securities and
                                   Exchange Commission




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                                CERTIFICATE OF SERVICE

        I certify that on March 1, 2023, I electronically submitted the foregoing document with
the clerk of court for the United States District Court, Northern District of Texas, Fort Worth
Division, using the electronic case filing system of the court.


                                                    /s/ Jessica T. Quinn
                                                    Jessica T. Quinn




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